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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PENN ENGINEERING &                                :
MANUFACTURING CORP.,                              :      CIVIL ACTION
              Plaintiff                           :
                                                  :
              v.                                  :
                                                  :
PENINSULA COMPONENTS, INC.,                       :      No. 19-513
              Defendant                           :

                                         ORDER

       AND NOW, this 6th day of May, 2024, upon consideration of Penn Engineering’s Motion

to Dismiss Various Claims (Doc. No. 434) (“Motion”), Peninsula’s Response in Opposition (Doc.

No. 435), and Penn Engineering’s Reply in Support of the Motion (Doc. No. 436), it is hereby

ORDERED that the Motion (Doc. No. 434) is GRANTED. Counts 6, 7, 10, 11, 15, 16, 18-21,

and 23-34 of Penn Engineering’s Second Amended Complaint (Doc. No. 211) are DISMISSED

WITH PREJUDICE.

                                                  BY THE COURT:



                                                  s/ Gene E.K. Pratter
                                                  GENE E.K. PRATTER
                                                  UNITED STATES DISTRICT JUDGE
